Case 1:24-cv-03464-LTS Document7 Filed 09/13/24 Page 1of 90

UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF NEW YORK

Pshatoia LaRose
2221 Peachtree Rd. #222
Atlanta, GA 30309

Petitioner

V. 24-CV-3464

Sean Combs

Combs Defendants

1440 Broadway Floor Frnt 3
New York, NY 10018

Respondent

PLAINTIFFS AMENDED COMPLAINT

COMES NOW, Petitioner Pshatola LaRose, and states the following:

Plaintiff alleges that Respondent, Sean:Combs through the entities of Combs Enterprise and Combs
Global, as well as individually, committed the acts of violating the intellectual property rights of
Plaintiff's phone contents and conversations, which were re-used in publications, as well as the invasion
of privacy and harassment. Ail Defendants Included in the Initial Complaint are included in this
complaint. The Respondent caused harm and loss to Plaintiff both directly and indirectly through third
party associations, horoscope script writings, and Respondent's brand. As a result of Respondent's
actions, Petitioner has experienced severe financial loss and pain and suffering which has resulted in.
irreparable harm and toss to Petitioner. Plaintiff seeks damages of $521 million.

Defendant has also viclated the Lanham Act, which provides that “Any person. who, on or in connectian
with any goods or services, or any container for goods, uses in Commerce any word, term, name,
symbol, or device, or any combination thereof, or any false designation of origin, false or misleading
description of fact, or false or misleading representation of fact, which—{A)is likely to cause confusion,
or to cause mistake, or to deceive as to the affiliation, connection, or association of such person with
another person, or as to the origin, sponsorship, or approval of his or her goods, services, or commercial
activities by another person.” 15 U.S. €. § 1125(a)(1}. In addition, Defendant violated Trade Secrets Act
of 2016 and continuous Stalking and tnvasion of Privacy of unauthorized reuse of Plaintiff's Phone
Contents, images and Personal Property and is thus llable under the Lanham Act. Defendant has reused
Plaintiff, Pshatoia LaRose contents forinspiration for both Business and Personal use ranging from
Creating Products, Music Graphics, Social Media Post but not limited to.only these accusations that shall

result in Injunctions on these Products until Damages are awarded ta Plaintiff.

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Defendant has already made a settlement to another party, Cassandra Ventura, for similar claims to
Plaintiff's, and there are other cases ongoing involving Defendant. Defendant has been in the news
frequently regarding similar.cases and allegations. Four women, Including Ms. Ventura, have filed
against Defendant for abuse and sexual assault, filing in the New York Superior Court. Combs repetitive
Domestic Violence actions under further Review and Scrutiny in regards to this Case and several others
shall proceed with Clvil Justice by Jury Trial as well as Criminal Charges. Plaintiff, Pshatola LaRose is
stalked Daily prior to Sult and after Suit has been filed regarding Claims stated in Complaint.

Petitloner respectfully asks this.Court for damages owing from Defendant's conduct be held in The
United Stated District Court, Southern District of New. York via Jury Trial, as well as for an order for
Respondent to disclose all horoscope websites that he operates or is associated with, as well as for any
other relief that this Court may deem proper. After further review of Appendix, Dismissal of this Case:
would be an injustice to the Judicial System and would be deemed unfair, unreasonable and Potentially
unethical to allow continuous Stalking, Violation of Privacy, Lanham Act.and Trade Secrets of 2016 by
Repetitive Domestic Violence Offender, Sean Combs who shall be held accountable in the Court of Law.

Respectfully submitted,

Pshatoia LaRose
Plaintiff

Pshatoia LaRose

2221 Peachtree Rd. #222
Atlanta, GA 30309
LaRose.PN@gmail.com
404-450-7210

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Case 1:24-cv-03464-LTS Document6 Filed 08/21/24 Page 9 of 15

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Piatra Larose

ZA wv eket

{Include case number if one has been
assigned)

Write the full name of each plaintiff.

AMENDED

Sean Carol L Vene (eZ, \ COMPLAINT
Cane { “petty dart anttithed / Doyou w nt ajury trial?

Write the full name of each defendant. If you need more

space, please write “see attached” in the.space above and
attach an additional sheet of paper with the full list of NE © Cle [| V7 aT

names. The names listed above must be identical to those
La 13 2024 Ss

contained in Section II.
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NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual's birth; a minor's initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

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Case 1:24-cv-03464-LTS Document7 Filed 09/13/24 Page 5of 90
Case 1:24-cv-03464-LTS Document6 Filed 08/21/24 Page 10of15

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases.can be heard in federal court: cases Involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal! laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a casein which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, isa diversity case. Ina diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
O Federal Question
iversity of Citizenship
A. If you checked Federal Question

Which of your federal constitutional or federat statutory rights have been violated?

B. If you checked Diversity of Citizenship
1, Citizenship of the parties
Of what.State is each party a citizen?

The plaintiff , _ Piven tale -is a citizen of the State of
(Plaintiff's name)

Cencanihe

{State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
Case 1:24-cv-03464-LTS Document7 Filed 09/13/24 Page 6 of 90
Case 1:24-cv-03464-LTS Document6 Filed 08/21/24 Page 11of15

If the defendant is an individual:

The defendant, (an Cows ,is.a citizen of the State of
(Befendant’s name)
Now Vout

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If the defendant is a corporation: eR darts |

Ceapees\ Ve |i UH
The defendant, oy Pe tC HE (BAN Conver , is. ae Cage laws pla nL, |e
the State of No yu) Vit FOUND IMO / Puyo and

and has its principal place of business in the State of New y i ry

Ceaya.

or is incorporated under the laws:of (foreign state)

and has its principal place of business in Naw YOY _

lf more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

ena N AZo

First Name Middle Initial Last Name
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Street Address
Ault, 4 Ark CR Bap
County, City State Zip Code
. . . \
Att. 45). 12.10 Lake. (NO ayy, com
Telephone Number Email Address (if available)

Page 3
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B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:

Defendant 2:

Defendant 3:

New Yack Me

Sn Cons

First Name ‘LastName

Cur day Job Title (or other Ang. ing FA

nie Work Addres 1) ted: (on@ther Ue ead defendant may be served)

Dol &

County, City. State Zip Code
First Name J Last Name

Current Job Title (or other identifying information) |

Did Perdido

Current Work Addres< iii opher address where defendant may be served}

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~ County, city oO State Zip Code

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Firstl Name Last Name

NG Mai Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

NOU fice, Neg View _ MW |pDIO

County, City State Zip Code

Page 4
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Case 1:24-cv-03464-LTS Document6 Filed 08/21/24 Page 13 of 15

Defendants (eal Peypucetver, Chace 2 bps

First Name adt Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

Naw) Wie, WewVoue _Ny/ [0045—

County, City State’ Zip Cade

Ill. STATEMENT OF CLAIM

Place(s} of occurrence: Nan nce / VJ Bol

Date(s) of occurrence: 2D 22- OngDr4y
FACTS: (Nay ye, Pew to 1nWS wile. a4 Wal)

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

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INJURIES:

if you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

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Lilwbing, Medici And Hrsptel Pool Bd”

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

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Vv. PLAINTIFF’S. CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
urmnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so.identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;.
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

Lagree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to

proceed without prepayment of fees, each plaintiff must also submi an pplication.

Dated Plainti ignature
Praca. N hare

First Name Middle Initial Last Name
Dor| Wachleee LA # 222-
Street Address
fiutm, Aarbo— tt 50309
County, City State Zip Code .
4p. 46D - 7210 LBA. PN Payetlwm
Telephone Number Email Address {if available) o

thavgrfead the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
es ONo

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
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Petitioner/Plaintiff: Pshatoia LaRose
_ Regarding
Respondent/Defendant: Sean Combs

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Summary of Contents:

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Business Mediums & Companies associated with Respondent 4-17
Criminal Background of Respondent 18-26
Damages and Harm to Personal Property and Petitioner 27-40
Phone Tapping 41-65

Theft and Hacking of Phone Data reused for Business and Personal Use 66-78

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Summary Introduction:

[, Petitioner, Pshatoia LaRose, proceed with filing claims against Respondent, Sean
Combs for both Civil and Criminal Actions.

Criminal Allegations against Respondent, Sean Combs:

In the Domestic Violence Division, |, Petitioner, Pshatoia LaRose, proceed with filing for
a Ex Parte Trial of Criminal Allegations against Respondent, Sean Combs for Stalking,
Theft and Hacking of Phone Data, Premeditated Threats, Unauthorized and Illegal Phone
Tapping and Spying, and Damages to Petitioner, Pshatoia LaRose, Personal Property and
Potential links to Petitioner being Hospitalized for Poisoning, but not limited to only
these actions.

Civil Allegations against Respondent, Sean Combs:

In the Civil Division, I, Petitioner, Pshatoia LaRose, proceed with filing for a Ex Parte
Trial of Civil Allegations against Respondent for Unfair Business Practices,
Unauthorized Use of Intellectual Property, Unauthorized Theft of Petitioner, Pshatoia
LaRose Phone Data for Business and Personal Use, Unfair Business Practices to deter
Potential Business from Petitioner Pshatoia LaRose, Defamation to Petitioner Pshatoia
LaRose, form Conspiracy and Threats to Potentially cause Harm to Petitioner Pshatoia
LaRose and others, causing severe Emotional Distress, resulting in Petitioner living in
humane for approximately | Year, Loss of Current and Potential Business Earnings,
Including Criminal Allegations of Stalking, Theft and Hacking of Phone Data,
Premeditated Threats, Unauthorized and Illegal Phone Tapping and Spying, and Damages
to Petitioner, Pshatoia LaRose, Personal Property and Potential links to Petitioner being
Hospitalized for Poisoning, but not limited to only these actions.

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Business Mediums & Brands associated with Respondent:

The Respondent, Sean Combs is associated with the Following Companies he Owns or is
Paid by. Respondent, Scan Combs works for or is hired by several Horoscope Websites
in which Respondent, Sean Combs uses as a Medium to Stalk Petitioner, Pshatoia
LaRose Use unauthorized Theft of Petitioner, Pshatoia LaRose Phone Data for Business
and Personal Use, Unfair Business Practices to deter Potential Business from Petitioner
Pshatoia LaRose, Defamation to Petitioner Pshatoia LaRose, form Conspiracy and
Threats to Potentially cause Harm to Petitioner Pshatoia LaRose and Innocent others, as

well as Ponzi Scheme and Illegal Monopoly. Please see attached images regarding.
Respondent, Sean Combs, Unfair Business Practices, Theft of Data, Stalking and

allegations listed above.

Brands Respondent Owns and has used Stolen Images from Petitioner Phone for
inspiration to recreate for his Brands but not limited to:

Combs Enterprises
Ciroc

Deleon Tequila
Bad Boy

Revolt TV

Horoscope Websites Respondent Owns or Hired by including but not limited to:

JessicaAdams.com
CaliforniaPsychics.com
Horoscope.com
Astrolis.com
Huff post.com
YourTango.com
Horoscope App
Astrotalk.com
Ask-Oracle.com
Vogue.in
Tarot.com
Prokerala.com

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Everyone has their off days. Don't push it if you're not

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(May 22 - June 21)

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Today’s
Horoscope

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Tomorrow's Pisces

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(TOMORROW ) wes

Taree Lee Oy

A new busifigss rel&tionship may form, and this

month, it could bé in the form of a new boss,
coworker. or a team prgj Pagtnerships and
balanced r | e the main themes in
Inning today. During Venus in
« Virgo, focus your attention on cultivating
positive interactions. Channel Virgo's energy

‘into your oy interactions. Be personable
and approachable. Aim to be diligent but

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Case 1:24-cv-03464-LTS Document 7 Filed 09/13/24 Page 29 of 90

Criminal Background of Respondent:

Petitioner filed Restraining Order against Respondent, Sean Combs on August 1, 2023
for Stalking , Theft of Phone Data, Phone Tapping, Premeditated Threats, Unfair
Business Practices and Unauthorized reuse of Intellectual Property, but not limited to
only these allegations.

Since Petitioner filed Restraining Order against Respondent Sean Combs, several Women
have recently came forward regarding Defendants Domestic Violence Disputes, including
similar claims against Respondent Sean Combs that Petitioner also claim involving
Unauthorized Phone and Video Tapping, Verbal and Physical abuse, Stalking and
Harassment allegations.

Respondent, Sean Combs initially denied recent Domestic Violence claims and lawsuits
stating they were erroneous and fictitious similar to response Respondent, Sean Combs
stated to claim Petitioner had against him. However, a few days after Respondent, Sean
Combs denying Recent Domestic Viclence claims and lawsuit, they was an undisclosed
Settlement amount Paid to Petitioners and Plaintiffs. Please see attached images
regarding Respondents, Sean Combs most recent Domestic Violence claims and lawsuits
similar to claims Petitioner, Pshatoia LaRose filed.

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@ theshaderoom @

Cassie Files $30 Million Lawsuit
Against Diddy —-Accuses Him Of
Rape And Repeated Physical Abuse

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stated that the rappers car blew up in his driveway... more

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9 Add a comment...

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Case 1:23-cv-10098 Document1 Filed 11/16/23 Page 1 of 35

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

— x
CASANDRA VENTURA :

Civil Case No.: 23-cv- 10098
Plaintiff,

v.
COMPLAINT
SEAN COMBS, BAD BOY ENTERTAINMENT, :
BAD BOY RECORDS, EPIC RECORDS, COMBS : JURY TRIAL DEMAND
ENTERPRISES, LLC, and DOE CORPS. 1-10,

Defendants. :
x

TRIGGER WARNING:
THIS DOCUMENT CONTAINS HIGHLY GRAPHIC INFORMATION OF A
SEXUAL NATURE, INCLUDING SEXUAL ASSAULT

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3,421 likes

hollywoodunlocked #Diddy's lawyer has responded to
#Cassie’s $30 million lawsuit and claims she’s just... more

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#TSRUpdatez: Cassie Settles
Lawsuit Against Diddy Accusing
Him Of Rape And Abuse ™S*

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@r Liked by lauramgovan and 57,590 others
theshaderoom #TSRUpdatez: #Cassie, whose real name is
#CassandraVentura, has settled her lawsuit against
#Diddy. According to @nytimes, both parties reached an
undisclosed settlement one day after Cassie filed a lawsuit

accusing Diddy, whose real name is #SeanCombs, of rape
and physicat abuse. (gli @gettyimages @doncamss) gf:

#TSRStaffMM

View all 18,992 comments

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Case 1:24-cv-03464-LTS Document 7 Filed 09/13/24 Page 35 of 90

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& DP Liked by am12.41 and 199,655 others

5O0cent 2 I'll buy that from you play boy , for the low
because you know Cadillac and AT&T gonna pull out. 1’ll
give you a few dollars for it now! Sell it to me, then we can

be friends I'm serious call my phone §
@bransoncognac @lecheminduroi

View all 19,081 comments

November 28
Ma Case 1:24-cv-03464-LTS Document7 Filed 09/13/24 Page 37 of 90
@ hollywoodunlocked @

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40,004 likes

hollywoodunlocked Woah! In more shocking claims,
#Diddy’s former Bad Boy artists is speaking out and
reacting to these sexual assault lawsuits. Thoughts? &
gh. @theartofdialogue

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Petitioner, Pshatoia LaRose has included Damages to her Vehicle in which Respondent,

Sean Combs stated via Business Medium, Horoscope Website, Vogue.in that linked him

to Damaging Petitioners Tire on more than One Occasion. The Most recent Tire Damage |
that occurred on July 23, 2023 caused Petitioner, to have Severe Damages to her Vehicle
causing it to be inoperable for 5 Months now.

Damages and Harm to Personal Property and Petitioner:

Also, Petitioner, Pshatoia LaRose is a Resident of Miami, FL. Each Time Respondent,
Sean Combs, has had an Event in Miami, FL he has potentially had Petitioner, Poison and
Hospitalized. Petitioner, tried to leave the area when she noticed Respondent would be in
town however, Petitioner did not leave soon enough and Pshatoia LaRose was
hospitalized with Moderate to Severe Condition.

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Case 1:24-cv-03464-LTS | Document 7. filed 09/13/24 Page 41 of 90

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Continental

CONTIPROCONTACT MO BW

245/40R17 91H
| ORIGINAL EQUIPMENT |

wl 03803915 sy BOQB4O0SII
TIRE SPECIFICATIONS — PRICING
Quantity 1
Size 245/40R17 Retail $273.00
Performance Ratin 91H
- 2 Installation Includes:
. Type Sport Touring
RunFlat No 24 Month Road Hazard Protection -Included
Treadlife Warranty 60,000 Miles 30 Day Tire Price Match. ask for details «Included
Oi: [ Migs, Buy 2 Tires & Recsive Complimentary Included
Mig Defect Warranty 6 Years Rolations
Durations Aillemative Transporation Pravided -Included
Traction Grade AA Complimentary Car wash -Included
Tread Wear Grade 509 Tre Oisposal Fee $1.00
Max Speed 130 mph Shop Supplies $6.00
Ulf Nlaxdidad ” 1356 ths. Mount & Balance $53,00
Fuel Gfficient No Balancing Weight $10.75
, RoadHazard #4 Months installed $343 75
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Case 1:24-cv-03464-LTS Document 7 Filed 09/13/24 Page 42 of 90

Fy 27, 2023 12-06 pm

RO# 92196

CUSTOMER INFORMATION
Pshatola Larose

+14046542159

CAR INFORMATION
Mercedes-Benz

2010 C-CLASS
WDDGFSEB4AR090504
Mileage: 219126

Tag # 8039

ORIGINAL CUSTOMER
RE
RECOMMENDATIONS QUESTS

‘

C/S SHE WENT TO PUT FUEL iN HER VEHICLE
AND IT WAS ALL JUST | SPILLING OUT NEAR
THE PASSENGER REAR TIRE PLEASE CHECK
AND | ADVISE

REMOVED REAR SEAT TO ENSURE SENDING UNIT AND FUEL
PUMP WERE NOT LEAKING; FOUND TO BE OKAY. TRACED
BACK TO FILLER NECK AREA AND FOUND DAMAGE TO
FENDER LINER AND FILLER NECK OF FUEL TANK, FUEL TANK
NEEDS TO BE REPLACED. THERE APPEARS TO BE SOME
OUTSIDE INFLUENCE THAT CAUSED THE DAMAGE TO THE

FUEL FILLER NECK.

C/STPMS SYSTEM IS INOPERATIVE (OR ONE

_OF THE SENSORS [S | INOPERATIVE) PLEASE
CHECK AND ADVISE

BOTH FRONT TPM SENSORS INOP; REAR WORK OKAY,
FRONT ONES WONT GIVE READING, REPLACE BOTH FRONT

TPM SENSORS

OTHER

fx

COURTESY INSPECTION

“\ Mercedos-Bené
od Sen Antonio

SERVICE ADVISOR INFO

Francisco Gonzalez
TECHNICIAN
Dante Rocha

Total Approved: $0.00
Original Approved: $0.00 .
$4,614.26

Repair Estimate:

Total Approved: sowaner
Original Approved: sie
Repair Estimate: $924.05 |

Total Approved: $0.00
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Relax

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always good to learn and evolve, it 1s not a
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Page tot
MAIL RETURN ONLY
PO BOX 8486 - CORAL SPRINGS FL 33075-8486 800-984.9115
er Espeiol 800-396-3978
May 08, 2023 Monday through
8:00AM to 11:00PM esvreot

vo. HT

PRRG A 006426 BOHR IHORDINNGRMOMRO GBI
PSHATOIA N LAROSE

6815 BISCAYNE BLVD

MIAMI FL 33138-8292

Re: 62195876 Settlement Offer
hrrgcotlections.com

Dear Pshatola N Larose: PIN# 1.62195876.523

AN OFFER FOR YOU
Our client has authorized us to offer you a settlement option in an effort to assist you In resolving your account balance,
This offer is valid for 30 days from the date of this letter. if you need additional time to respond to this offer, or need to
make other arrangements, please contact us. We are not obligated to renew this offer.
Settle your balance of $6,573.00 by making a one-time payment of $3943.80 within 30 days of the date of this fetter.
To make your payment, just fill in your credit card information on the reverse side of this notice, or enclose your
check/money order payable to the creditor, along with the payment voucher below. To pay using our automated IVR
accessible 24 hours a day, cali 855-PAY-HRRG (855-729-4774), or visit our website at hrrgcollections.com. Both options
require the PIN# and the RE: # listed above along with the last four digits of your social security number.

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will be
used for that purpose. (NOTICE: SEE REVERSE FOR IMPORTANT INFORMATION).

(NOTICE: SEE REVERSE SIDE FOR APPLICABLE DISCLOSURES AND PAYMENT INFORMATION.)

os

Reference #: 62195876
Creditor

Total Bolance: $6,573.00

Account #

<x

Regarding

Amount Enclosed $

Amt Owed  Servbate

PARAGON CONTRACTING SVC L 0325099573- 95387227 LAROSE .PSHATOIA N 1154.00 11/28/22
INPHYNET S BROWARD LLC 0325054024 -50232443 LA ROSE, PSHATOIA BBO .00 11/27/22
TNPHYNET § BROWARD LLC 0325054025 - 50232443 LA ROSE .PSHATOIA 1907 .00 11/27/22
INPHYNET S BROWARD LLC 0325264224 -50232443 LA ROSE, PSHATOIA 1316.00 11/30/22

0325161640-50232443 LA ROSE. PSHATOIA 1316.00 12/01/22

INPHYNET S BROWARD LLC

Lecteemgeaaten og t fg gdggl get pene gt Hepat

PO BOX 5406
CINCINNATI OH 45273-7942

HEADLINERWORLD

LOVE

SATURDAY

DECEMBER 3, 2022
Basel Weekend

Doo:
that R&B thang

DAY PARTY

PUFF
DADDY

47 R&B SHINGLE “GOTTA MOVE ON”

THE@)RBAN

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www.HeadlinerEventa.com

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FOR THE FIRST TIME EV A
gami, Florida... more”

View all 112 comments

vember 28, 2022.

@ headlinerworld

Case 1:24-cv-03464-LTS Document 7 Filed 09/13/24 Page 47 of 90

september 28, 2023

wr

Patient: Pshatoia Larose Department AHEWL ED 13691 E

Date of Birth: 07/21/1988 Information: COLONIAL DR

Date of Visit: 9/28/2023 ADVENTHEALTH
WATERFORD LAKES ER
13691 EAST COLONIAL
DRIVE
ORLANDO FL 32826-4930
407-281-3600

To Whom It May Concem:

Pshatoia Larose was seen and treated in our emergency department on 9/28/2023.
She may retum to work on 10/02/2023.

If you have any questions or concerns, please don't hesitate to call.

Ermest Page II, MD

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. oT September 28, 2023 3
Patient: Pshatola Larose
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Date of Visit: 9/28/2023 ADVENT es
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Pshatoia Larose was seen and treated in our emergency department on 9/28/2023.
She may retum to schoo! on 10/02/2023.
If you have any questions or concerns, please don't hesitate to call.
Ernest Page l, MD
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Case 1:24-cv-03464-LTS Document 7 Filed 09/13/24 Page 49 of 90

Estimate ID: 3N14 91XXZ Account Number: 5010159420217
Med Rec No: 508648717
. Patient Type: Emergency Service
Prepared for: Date cf Service: 9/28/2023
PSHATOIA LAROSE Payer Name: AETNA HMO

Expected Services

Benefit Category Units # of Visits Services
Emergency ' 4 99283 - R11.2 - HC EMERGENCY DEPARTMENT
Service

VISIT MODERATE SEVERITY

Estimated Patient Responsibility Calculation

Negotiated Deductible
COB 9 P
Benefit Category Amount Remaining Co-Pay
Primary Emergency Service $735.97 $0.00 $0.00

SecondaryFamilyDeductibleRemaining
Based on the services estimated and your insurances benefits, it is estima

Common Independent Practitioners How was this
Emergency Provider _ Anesthesiology Provider: This is how we determ
Florida Emergency Physicians of Team US Anesthesia Partners Deductible - Copay) * «
Health

Phone: (407) 667-0505

Phone: (888) 952-6772 Remaining Deductible

Radiology Provider: Pathology Provider:
AHMG Radiology of Central Florida Central Florida Pathology Associates
Phone: (866) 481-7571 Phone: (800) 693-3271

Our facility complies with applicable Federal civil rights laws and does not discriminate on the basis of race, color, national origin, age, disability, or se
age, disability, or sex.

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D TABLE RESERVATIONS 305.674.4680
FONTAINEBLEAU MLAMI BEACH - 4441 COLLINS AVENUE
DELEON LIVNIGHTCLUB.COM -

Case 1:24-cv-03464-LTS Document 7 Filed 09/13/24 Page 52 of 90

Illegal and Unauthorized Phone Tapping and Spying:

I, Petitioner, Pshatoia LaRose have attached Images from my Phone of Private Text
Messages in which Respondent, Sean Combs has Hacked and Stolen from my Phone. As
I noticed, My Phone Conversations being reused via Respondent, Sean Combs Business
Mediums, { have not used any ]Cloud or [Messenging Data in over 1 Year now due to
ongoing Stalking. However, Respondent, Scan Combs hacks into my Phone and is able to
see my Private Text Conversations as well as Phone Conversations in which | have
Witness(es) that can clarify our Phone Conversations are Tapped Unauthorized by
Respondent, Sean Combs. [ have attached Images also for further review of Defendants
Stalking Behavior and Theft of Petitioner, Pshatoia LaRose, Phone Data.

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Page 58 of 90

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You never know who you ay meet at the right
time, and during Mercury entering Sagittarius,

niverse, ould sing the decision-makers

This is.a wonderful time to enter @iicussions

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California ¢ Psychics e ©

Tuesday, November 7, 2023

Scorpio Horoscope for Tomorrow

You tend to read too much into things as perceptive
Pallas merges with the South Node in your
mysterious twelfth house. When you connect the

_ dots, they're unlikely to reveal the crimes and

~ misdemeanors that you envision. Don't let paranoia

._ drive you and everyone else crazy. Jumping
‘Wrong conclusions can be disaSfous. Instead,
fiable facts.

redirect your attention toward v
Likewise, a crippling fear may hk
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6am - 10 am
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home and snuggle with your
sweetheart. Unfortunately, you
probably have other responsibilities.
Asking for a date night disguised as a
_run for errands may let you connect

and get stuff done at the same time.

Knowing Wig aed when

ould help navigate an

stressoms on your to-do list.

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aCeyuenrae) ese eee

PRESENTED BY @Peharmony

Aug 25, 2023 - The planetary aspect that iS
forming may encourage you to be you more

only so much in your 2g ; |
trusting in the bg Frness of the universe to bring

CQ)

By www.horoscope.com/us/horosco...

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Mama ¢49" - oe
© Luke 1:45-48 KJV - And blessed s she that mm

believed: for there shall be a gérformance of”.

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August 13 .
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| Sea DIDI 1515)

What if we said you are more than the stories
you've been told about yourself? What if we
said ygu are infinite and so is the possibility of
| can co-create? This is your reminder
e the old narratives. To examine the

tions. The dark

Universe will conspi
you need and what you Wate fen you are in

alignment with your truth.

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blessed ahd
busy! You're pursuing your soul’$ calling: *

The week ahead sees you booke

Yow re dedicating yourself to that which brings
you joy *and* enables you to bring more
lightness and brightness into the big, bad
world. There’s no such thing as perfect.

However, this is as close to perfect as it gets,

beautiful one. In the realm of romance, yo

likely to experience é a va-va-woothn conngétion

than just chemistry, though? To avoid
misunderstandings later, be clear about your

thoughts and feelings from the start.

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star of every show as you in

travellers to follow their bliss. Something tells

o co-create magic with those
el that creative chemistry with. As such,

| Men the good

tan within. To think of ways in which
you can support and uplift the collective. The
secret to living a fulfilled life: placing service at
the front and centre of everything you create

and offer.

2 www.vogue.in/horoscope/collect.. [) CG

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leave the rest to your angels and guides| |

Cosmic Wisdom: A higher perspec

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Theft and Hacking of Phone Data reused for Business and Personal Use:

I, Petitioner, Pshatoia LaRose, have attached images of Respondent, Sean Combs and
other Individuals of Combs Family reusing my Images for Business and Personal Use.
There are more images other than what Respondent has attached if needed. However, as
you can see Respondent, Sean Combs and Family has continuously stalked Petitioner,
Pshatoia LaRose prior to her Case Filing of Domestic Violence and Civil Claim and also
after these allegations were filed further identifying while Petitioner, Pshatoia LaRose
shall have Right to a Fair Trial in both Criminal and Civil Disputes against Respondent,
Sean Combs. Individuals included in Images are Brands and Family Members related to
Respondent, Sean Combs,

Case 1:24-cv-03464-LTS Document7 “Filed 09/13/24 Page 78 of 90

~ July 11, 2022

April 5, 2020

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@BD | iked by mrsadriennebosh and 3,642 others

quincy It's yours May 20th! Pre-save link in bio.
#QsideBside

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taste. This is about igniting something within you. Make
sure to tag us when you spot the bottle *»

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March 29, 2021

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July 23, 2022
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@PP Liked by johnlegend and 23,165 others

diddy Biggie inspired me to become an artist and make
this album, so it’s bittersweet to look back on such a _

pivotal turning point in my life and career that... more
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